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2020R00926/RY




                          UNITED STATES DISTRICT COU RT
                              DISTRICT OFNEW JERSEY


UNITED STATES OF AMERICA                        Hon. (SDW)

                                                Crim. No. 21-430
            v.
                                                18 u.s.c. §   1347 18
                                                u.s.c. § 2
ALEXANDER BALDONADO


                                   IN D I C TMEN T

      The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges:

       1.        Unless otherwise indicated, at all times relevant to this Indictment:

                                     The Defendant

                 a.    Defendant ALEXANDER BALDONADO was a resident of New

York and a licensed physician. ALEXANDER BALDONADO was an enrolled

Medicare provider and submitted claims to Medicare for payment.

                          Relevant Entities and Individuals

                 b.    "Lab Company l" and "Lab Company 2" were laboratories

located in New York with common ownership. Lab Company 1 and Lab Company

2 were enrolled Medicare providers and submitted claims to Medicare for

payment.

                 c.    "Lab Company 3" was a laboratory located in Secaucus, New

Jersey. Lab Company 3 served as a reference laboratory that performed genetic

testing on specimens referred by Lab Company 1 and Lab Company 2.
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                              The Medicare Program

             d.     The Medicare Program (“Medicare”) was a federally-funded

health care program that provided free or below-cost benefits to certain

individuals, primarily the elderly, blind, or disabled. The benefits available under

Medicare were governed by federal statutes and regulations. Medicare was

administered by the Centers for Medicare and Medicaid Services (“CMS”), a

federal agency within the U.S. Department of Health and Human Services

(“HHS”). Individuals who received Medicare benefits were referred to as

“beneficiaries.”

             e.    Medicare was a “health care benefit program,” as defined in

Title 18, United States Code, Section 24(b).

             f.    Medicare was divided into four parts: hospital insurance (Part

A), medical insurance (Part B), Medicare Advantage (Part C), and prescription

drug benefits (Part D). Medicare Part B covered medically necessary physician

office services and outpatient care, including laboratory tests.

             g.    Physicians,   clinics,       laboratories,   and other health   care

providers (collectively, “providers”) that provided items and services to Medicare

beneficiaries were able to apply for and obtain a “provider number.” Providers

that received a Medicare provider number were able to file claims with Medicare

to obtain reimbursement for services provided to beneficiaries.

            h.     When seeking reimbursement from Medicare for provided

benefits, services, or items, providers submitted the cost of the benefit, service,

or item provided together with a description and the appropriate “procedure




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 code,” as set forth in the Current Procedural Terminology (“CPT”) Manual or the

 Healthcare Common Procedure Coding System (“HCPCS”). Additionally, claims

 submitted to Medicare seeking reimbursement were required to include: (i) the

beneficiary’s name and Health Insurance Claim Number (“HICN”); (ii) the date

upon which the benefit, item, or service was provided or supplied to the

beneficiary; and (iii) the name of the provider, as well as the provider’s unique

identifying number, known either as the Unique Physician Identification Number

(“UPIN”) or National Provider Identifier (“NPI”). Claims seeking reimbursement

from Medicare were able to be submitted in hard copy or electronically.

             i.     Medicare, in receiving and adjudicating claims, acted through

fiscal intermediaries called Medicare administrative contractors (“MACs”), which

were statutory agents of CMS for Medicare Part B. The MACs were private entities

that reviewed claims and made payments to providers for services rendered to

beneficiaries. The MACs were responsible for processing Medicare claims arising

within their assigned geographical area, including determining whether the

claim was for a covered service.

            j.     To receive Medicare reimbursement, providers needed to have

applied to the MAC and executed a written provider agreement. The Medicare

provider enrollment application for physicians and non-physician practitioners,

CMS Form 8551, was required to be signed by the provider. CMS Form 8551

contained a certification that stated:

            I agree to abide by the Medicare laws, regulations, and
            program instructions that apply to me or to the
            organization listed in section 4A of this application. The
            Medicare laws, regulations, and program instructions


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             are available through the Medicare Administrative
             Contractor. I understand that payment of a claim by
             Medicare is conditioned upon the claim and the
             underlying transaction complying with such laws,
             regulations and program instructions (including, but
             not limited to, the Federal Anti-Kickback Statute, 42
             U.S.C. section 1320a-7b(b)     .
                                                .




             k.    In executing CMS Form 8551, providers further certified that

they “w[ouldj not knowingly present or cause to be presented a false or

fraudulent claim for payment by Medicare and w[ouldj not submit claims with

deliberate ignorance or reckless disregard of their truth or falsity.”

             1.    Medicare paid for claims only if the items or services were

medically reasonable, medically necessary for the treatment or diagnosis of the

patient’s illness or injury, documented, and actually provided as represented to

Medicare.

             m.    In   certain   limited       circumstances,   Medicare   permitted

laboratories to establish arrangements with so-called “reference laboratories.”

Such arrangements existed when a laboratory received a specimen for testing,

but instead of testing the specimen in-house, the laboratory acted as a “referring

laboratory” by sending the specimen to another laboratory, the “reference

laboratory,” to complete the testing.

                                  Genetic Tests

            n.     Cancer genetic tests were laboratory tests that used DNA

sequencing to detect mutations in genes that could lead to a higher risk of

developing cancer or to assist in the treatment of an existing cancer. Cancer




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genetic tests were not a method of diagnosing, in the first instance, whether an

individual had cancer.

             o.     In order to have a cancer genetic test performed, an individual

typically provided a saliva sample, which contained DNA material (“specimen”).

The specimen was then transmitted to a laboratory for testing.

             p.     DNA   specimens     were   submitted    along   with   laboratory

requisition forms that identified the patient, the patient’s insurance, and the

specific test to be performed. In order for laboratories to submit claims to

Medicare for cancer genetic tests, the tests had to be approved by a physician or

other authorized medical professional who attested to the medical necessity of

the test.

             q.    Medicare did not cover diagnostic testing, including cancer

genetic testing, that was “not reasonable and necessary for the diagnosis or

treatment of illness or injury or to improve the functioning of a malformed body

member.” Title 42, United States Code, Section 1395y(a)(1)(A). Except for certain

statutory exceptions, Medicare did not cover “[e]xaminations performed for a

purpose other than treatment or diagnosis of a specific illness, symptoms,

complaint, or injury.” Title 42, Code of Federal Regulations, Section 411. 15(a)(1).

Among the statutory exceptions Medicare covered were cancer screening tests

such as “screening mammography, colorectal cancer screening tests, screening

pelvic exams, [and] prostate cancer screening tests.” Id.

            r.     If diagnostic testing was necessary for the diagnosis or

treatment of illness or injury or to improve the functioning of a malformed body




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member, Medicare imposed additional requirements before covering the testing.

Title 42, Code of Federal Regulations, Section 410.32(a), provided that “all

diagnostic x-ray tests, diagnostic laboratory tests, and other diagnostic tests

must be ordered by the physician who is treating the beneficiary, that is, the

physician who furnishes a consultation or treats a beneficiary for a specific

medical problem and who uses the results in the management of the

beneficiary’s specific medical problem. Tests not ordered by the physician who

is treating the beneficiary are not reasonable and necessary.”

                                COUNTS 1 -6
                               Health Care Fraud
      2.    Paragraph 1 of this Indictment is realleged here.

      3.    From in or around November 2018 and continuing through in or

around May 2021, in the District of New Jersey and elsewhere, the defendant,

                          ALEXANDER BALDONADO,

in connection with the delivery of, and payment for, health care benefits, items,

and services, did knowingly and willfully execute, and attempt to execute, a

scheme and artifice to defraud Medicare, a health care benefit program as

defined in 18 U.S.C.   § 24(b), and to obtain by means of materially false and
fraudulent pretenses, representations, and promises, money and property owned

by, and under the custody and control of, Medicare.

                       Goal of the Scheme and Artifice

      4.    It was the goal of the scheme and artifice for defendant ALEXANDER

BALDONADO and his accomplices to unlawfully enrich themselves and others

by, among other things, (a) submitting and causing the submission of false and



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fraudulent claims to Medicare for services that were medically unnecessary,

ineligible for reimbursement, and not provided as represented; (b) concealing the

submission of false and fraudulent claims to Medicare and the receipt and

transfer of the proceeds of the fraud; and (c) diverting proceeds of the fraud for

their personal use and benefit, for the use and benefit of others, and to further

the fraud.

                              The Scheme and Artifice

      5.       The   manner   and     means     by   which   defendant   ALEXANDER

BALDONADO and his accomplices sought to accomplish the goal of the

conspiracy included, among others, the following:

               a.    Beginning   in    or   around     November    2018,   defendant

ALEXANDER BALDONADO and his accomplices devised a scheme in which they

submitted and caused the submission of false and fraudulent claims to Medicare

for services, including cancer genetic tests and physician office visits, that were

medically unnecessary, ineligible for reimbursement, and not provided as

represented.

               b.    On or about March 24,           2020,   defendant ALEXANDER

BALD ONADO falsely certified to Medicare that he would comply with all Medicare

rules and regulations, including that he would not knowingly present or cause

to be presented a false and fraudulent claim for payment by Medicare.

             c.      In or around September 2020, during the national emergency

and global pandemic caused by the novel coronavirus disease 2019 (“COVID

19”), defendant ALEXANDER BALDONADO and his accomplices gained access



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to Medicare beneficiaries and their genetic samples by offering COVID- 19 testing

to residents living in a retirement community.

              d.     Defendant ALEXANDER BALDONADO ordered cancer genetic

tests for Medicare beneficiaries even though: in some cases, the beneficiaries

were seeking only COVID-19 testing; he was not treating the beneficiaries for

cancer, symptoms of cancer, or any other medical condition; he did not use the

test results in the treatment of the beneficiaries or the management of their care;

and he did not conduct a patient visit or consultation that would justify approval

of the orders for genetic testing on the beneficiaries.

              e.     Defendant ALEXANDER BALDONADO signed cancer genetic

testing laboratory requisition forms for Medicare beneficiaries falsely certifying

and attesting that the tests were medically necessary for the diagnosis or

detection of a disease or disorder and that the results would be used in the

medical management and care decisions for the beneficiary.

             f.     Defendant ALEXANDER BALDONADO and his accomplices

falsified and altered laboratory requisition forms, including by adding false

information about the Medicare beneficiaries’ personal and family history of

cancer, to falsely represent the medical necessity of the cancer genetic tests.

             g.     Defendant ALEXANDER BALDONADO submitted and caused

to be submitted false and fraudulent claims to Medicare for services, including

lengthy office visits, for Medicare beneficiaries for whom he ordered cancer

genetic   tests,   including   beneficiaries   to   whom   defendant   ALEXANDER

BALDONADO and his accomplices gained access by offering COVID-19 testing




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to residents living in a retirement community. These services were medically

unnecessary, ineligible for reimbursement, not provided as represented, and

never actually rendered.

             h.      Defendant ALEXANDER BALDONADO did not explain the

results of the cancer genetic tests to the Medicare beneficiaries for whom he

ordered the tests, and the beneficiaries rarely received the results from the tests,

which were conducted by Lab Company 3 in New Jersey, pursuant to a reference

agreement with Lab Company 1 and Lab Company 2.

            i.       Defendant ALEXANDER BALDONADO caused Lab Company

1 and Lab Company 2 to submit in excess of approximately $17 million in false

and fraudulent claims to Medicare for genetic tests that were medically

unnecessary, ineligible for reimbursement, and not provided as represented.

Medicare paid Lab Company 1 and Lab Company 2 in excess of approximately

$1.7 million based on these false and fraudulent claims.

            j.       Specifically with respect to claims for genetic tests for

beneficiaries for whom ALEXANDER BALDONADO also ordered a COVID— 19 test

during the COVID- 19 national emergency, defendant ALEXANDER BALDONADO

caused Lab Company 1 and Lab Company 2 to submit in excess of approximately

$2 million for genetic tests that were medically unnecessary, ineligible for

reimbursement, and not provided as represented. Medicare paid Lab Company

1 and Lab Company 2 approximately $350,000 based on these false and

fraudulent claims.




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                         Executions of the Fraudulent Scheme

          6.     On or about the dates specified below, in the District of New Jersey

and elsewhere, defendant ALEXANDER BALDONADO, aided and abetted by

others, and aiding and abetting others known and unknown to the Grand Jury,

submitted and caused to be submitted the following false and fraudulent claims

to Medicare for cancer genetic tests that were billed to Medicare by Lab Company

 1, performed by Lab Company 3 in New Jersey, medically unnecessary, ineligible

for reimbursement, and not provided as represented, in an attempt to execute,

and in execution of, the scheme as described in Paragraphs 3 through 5, with

each execution set forth below forming a separate count:

                                                                        Approx.
                             Approx.                                    Amount
                Medicare      Claim     Procedure       Ordering        Billed to
 Count         Beneficiary    Date        Code          Provider        Medicare
                                                      ALEXANDER
      1           A.B.       9/11/20       81162                       $2,395.80
                                                      BALDONADO

                                                      ALEXANDER
     2            F.B.       9/11/20       81162                       $2,395.80
                                                      BALDONADO

                                                      ALEXANDER
     3            B.B.       9/10/20       81162                       $2,395.80
                                                      BALDONADO

                                                      ALEXANDER
     4            I.B.       9/10/20      81162                        $2,395.80
                                                      BALDONADO

                                                      ALEXANDER
     5            R.S.       9/26/20      81162                        $2,395.80
                                                      BALDONADO

                                                     ALEXANDER
     6            D.L.       9/10/20      81162                        $2,395.80
                                                     BALDONADO

          Each in violation of Title 18, United States Code, Section 1347 and Section

2.



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                          FORFEITURE ALLEGATIONS

       1.    The allegations contained in Counts 1 through 6 of this Indictment

are realleged here for the purpose of alleging forfeiture against defendant

ALEXANDER BALDONADO.

       2.    Pursuant to Title 18, United States Code, Section 982(a)(7), upon

being convicted of the offenses charged in Counts 1 through 6 of this Indictment,

defendant ALEXANDER BALDONADO shall forfeit to the United States any

property, real or personal, that constitutes or is derived, directly or indirectly,

from gross proceeds traceable to the commission of the offenses.

                          Substitute Assets Provision

      3.     If any of the above-described forfeitable property, as a result of any

act or omission of the defendant:

      a.     cannot be located upon the exercise of due diligence;

      b.     has been transferred or sold to, or deposited with, a third person;

      c.     has been placed beyond the jurisdiction of the Court;

      d.    has been substantially diminished in value; or

      e.    has been commingled with other property which cannot be

            subdivided without difficulty;

it is the intent of the United States, pursuant to Title 2 1, United States Code,

Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)

and Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of defendant ALEXANDER BALDONADO up to the value of the

forfeitable property described above.



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                                  A True Bill,



                                  Foreperson


RACHAEL A. HONIG                  DANIEL KAHN
Acting United States Attorney     Acting Chief
                                  Criminal Division, Fraud Section
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                                  ALLAN MEDINA
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               CASE NUMBER: 21-430(SDW)___

          UNITED STATES DIS'rRICT COURT
             DISTRICT OF NEW JERSEY
                 UNITED STATES OF AMERICA

                                    v.

                      ALEXANDER BALDONADO

                       INDICTMENT FOR
                          18   u.s.c. §§   1347, 2




                 A
                 F                                                          /



                            RACHAEL A. HONIG
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                     FOR THE DISTRICT OF NEW JERSEY

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